                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GRETCHEN S. STUART, M.D., et al.,                      )
                                                       )
                     Plaintiffs,                       )
                                                       )        CIVIL ACTION
v.                                                     )        Case No. 1:11-cv-00804
                                                       )
MICHAUX R. KILPATRICK, M.D., PhD,1 et                  )
al.,                                                   )
                                                       )
                     Defendants.

     NOTICE OF SPECIAL APPEARANCE OF CAROLINE M. SACERDOTE

       Pursuant to Local Rule 83.1(d), the undersigned counsel hereby provides this

Court with notice of the special appearance in the above -captioned civil action of

Caroline M. Sacerdote, and in support thereof, the undersigned counsel states as follows:

       1. Caroline Sacerdote is a licensed attorney in good standing of the bar of New

          York State (Bar # 5417415). She has also been admitted to the bars of the U.S.

          Supreme Court and the U.S. Courts of Appeal for the Fourth and Fifth Circuits.

          She is a Staff Attorney at the Center for Reproductive Rights, 199 Water

          Street, 22nd Floor, New York, NY 10038, and may be reached at (917) 637-

          3646 and csacerdote@reprorights.org.

       2. Ms. Sacerdote agrees that she will be responsible for ensuring the presence of

1 Pursuant to Federal Rule of Civil Procedure 25(d), “when a public officer who is a party

in an official capacity . . . ceases to hold office,” the “officer’s successor is automatically
substituted as a party.” Here, the office of President of the North Carolina Medical Board
is, as of the date of this filing, now held by Michaux R. Kilpatrick, M.D., PhD, who is
therefore automatically substituted for Cheryl Walker-McGill, M.D.




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          an attorney who is familiar with the case and has authority to control the

          litigation at all conferences, hearings, trials, and other procee dings, and that

          she submits to the disciplinary jurisdiction of the Court for any misconduct in

          connection with this litigation.

      WHEREFORE, notice of the special appearance of Caroline M. Sacerdote is

hereby provided to this Court. The undersigned counsel asks that she be noted as counsel

of record for Plaintiffs Gretchen S. Stuart, M.D.; David A. Grimes, M.D.; Amy Bryant,

M.D.; A Woman’s Choice of Greensboro, Inc.; 2 and A Woman’s Choice of Raleigh, Inc.

in this proceeding.

Dated: June 16, 2023

Respectfully submitted,

/s/ Kristi Graunke                               /s/ Caroline M. Sacerdote
Kristi Graunke                                   Caroline M. Sacerdote*
NC Bar # 51216                                   Center for Reproductive Rights
American Civil Liberties Union                   199 Water Street, 22nd Floor
of North Carolina Legal Foundation               New York, NY 10038
P.O. Box 28004                                   Tel.: (917) 637-3646
Raleigh, NC 27611                                csacerdote@reprorights.org
Tel.: (919) 834-3466
kgraunke@ acluofnc.org                           COUNSEL FOR GRETCHEN S.
                                                 STUART, M.D.; DAVID A. GRIMES,
COUNSEL FOR ALL PLAINTIFFS                       M.D.; AMY BRYANT, M.D.; A
                                                 WOMAN’S CHOICE OF GREENSBORO,
                                                 INC.; & A WOMAN’S CHOICE OF
                                                 RALEIGH, INC.

                                                 *By special appearance

2 Decker & Watson, Inc., doing business as Piedmont Carolina Medical Clinic, a plaintiff

in this case, is now A Woman’s Choice of Greensboro, Inc.
                                             2


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                             CERTIFICATE OF SERVICE

       I hereby certify that, on June 16, 2023, I electronically filed the foregoing Notice

of Special Appearance with the clerk of the court using the CM/ECF system, which will

send a notice of electronic filing to counsel of record for all parties.


                                                  /s/ Caroline M. Sacerdote
                                                  Caroline M. Sacerdote*
                                                  Center for Reproductive Rights
                                                  199 Water Street, 22nd Floor
                                                  New York, NY 10038
                                                  Tel.: (917) 637-3646
                                                  csacerdote@reprorights.org

                                                  COUNSEL FOR GRETCHEN S.
                                                  STUART, M.D.; DAVID A. GRIMES,
                                                  M.D.; AMY BRYANT, M.D.; A
                                                  WOMAN’S CHOICE OF
                                                  GREENSBORO, INC.; & A WOMAN’S
                                                  CHOICE OF RALEIGH, INC.

                                                  *By special appearance




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